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UNITED sTATEs DISTRICT COURT mann ________,,
Western District of Tennessee `
USJUL -8 AH 73 \5

UNITED sTATES OF AMERICA
NL~.S§A. G(`M.D

Plaim-.iff, 03 MD§SYRSCTUH

VS. Case Num.ber 2: 97 TCW QCGENM

RODNEY ROBINSON
Defendant.

JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
{For Offenses Committed On or After November 1, 1987)

The defendant, Rodney Robinson, was represented by Samuel Perkins, Esq.

It appearing that the defendant, who was convicted on July 21, 1998, in the above

styled cause and was placed on Supervised Release for a period of five (5) years and has
violated the terms of Supervised Release.

It is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau
of Prisons to be imprisoned for a term of Time Served of One (l) Day.

FURTHERMORE, the Court hereby imposes a period of Supervised Release for a term of
fifty two (52) months with the following additional conditions of release.

1. The defendant shall serve six (6) months at a Halfway House;
2. The defendant shall participate in mental health counseling;
3. The defendant shall cooperate in DNA collection.

The defendant is allowed to remain released on present bond.

Signed this the l day of July, 2005.
omch

JO PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

Defendant's SS No.: XXX-XX-XXXX
Defendant's Date of Birth: 01/06/1966

U.S. Mar§hal No.: 11771-076
Defendant's Mailinq Address: 1816 Victorian Plac§, Memphis, TN 38104

Th§s document entered on the docket sheet ln compliance fy

with Fiu§e 55 and/or 32(|0} FRCrP on

     

UNITED sTATE DRISTIC COUR - WTER D'S'TRCT oFTENNESSEE

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Samuel L. Perkins

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Honorable J on McCalla
US DISTRICT COURT

